Case 3:08-cv-00441-TLM Document 46 Filed 07/21/08 Page 1 of 38
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                    UNITED STATES DISTRICT COURT
                      DISTRICT OF CONNECTICUT

   DONGGUK UNIVERSITY,         .                      Case No. 3:08-CV-00441
                               .                      (RNC)
                 Plaintiff,    .
                               .                      Hartford, Connecticut
        v.                     .                      July, 15, 2008
                               .
   YALE UNIVERSITY,            .
                               .
                 Defendant.    .
   . . . . . . . . . . . . . . .

     ORAL ARGUMENT ON DEFENDANT’S MOTION TO STAY DISCOVERY
                          (DOC. #12)
            BEFORE THE HONORABLE DONNA F. MARTINEZ
                UNITED STATES MAGISTRATE JUDGE

   APPEARANCES:

   For the Plaintiff:                McDermott, Will & Emery, LLP
                                     By: ROBERT A. WEINER, ESQ.
                                     50 Rockefeller Plaza
                                     340 Madison Avenue
                                     New York, NY 10173

                                     Jacobs, Grudberg, Belt, Dow
                                     & Katz, P.C.
                                     By: IRA B. GRUDBERG, ESQ.
                                     350 Orange Street
                                     P.O. Box 606
                                     New Haven, CT 06503
   For the Defendant:                Attorney General’s Office
                                     Public Safety & Special Revenue
                                     By: STEVEN R. STROM, AAG
                                     MacKenzie Hall
                                     110 Sherman Street
                                     Hartford, CT 06106

   Official Court
   Reporter:                         MR. STEPHEN C. BOWLES


   _______________________________________________________
                         B O W LE S R EP O R T IN G S E R V IC E
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                      G A LE S FE R R Y , C O N N E C T IC U T 06335
                                   (860) 464-1083
     Case 3:08-cv-00441-TLM Document 46 Filed 07/21/08 Page 2 of 38
                                                                      2




 1            (Proceedings commenced at 10:35 a.m.)

 2                  THE COURT:     Morning.

 3                  COUNSEL:     Good morning, Your Honor.

 4                  THE COURT:     This is Dongguk University v.

 5      Yale University, 3:08-CV-441, assigned to Chief Judge

 6      Chatigny.

 7                  Will you identify yourselves for the record?

 8                  MR. GRUDBERG:     If the Court please, Ira
 9      Grudberg for the plaintiff.

10                  I’d like to introduce Robert Weiner, who is

11      our chief counsel here, and he will introduce the

12      others.

13                  MR. WEINER:     Good morning, Your Honor.

14                  I’m here with In Young Lee, one of my

15      partners; Jin Young Bae, who is referred to by -- as --

16      Jean Bae is her American name, and I have brought a

17      summer associate, Ali Matthews, with us, as well, so
18      she can watch --

19                  THE COURT:     Welcome.

20                  MR. WEINER:     -- the proceedings.

21                  THE COURT:     All right.     Welcome.

22                  MR. SPRINGER:     Good morning, Your Honor.

23      Felix Springer and Howard Fetner appearing on behalf of

24      Yale University.

25                  THE COURT:     All right.
     Case 3:08-cv-00441-TLM Document 46 Filed 07/21/08 Page 3 of 38
                                                                      3




 1                  We have pending before us this morning, the

 2      defendant’s motion to stay discovery.

 3                  There is also pending, the defendant’s motion

 4      to dismiss, but that has not been referred to me, so

 5      I’ll hear you on the defendant’s motion to stay

 6      discovery.

 7                  MR. SPRINGER:     Thank you, Your Honor.

 8                  THE COURT:     You’re welcome to use the lectern
 9      if you’d like to, but you need not.

10                  MR. SPRINGER:     I think I’m spread out here --

11                  THE COURT:     All right.

12                  MR. SPRINGER:     -- probably comfortable.

13                  I think my voice will carry, but tell me if

14      it doesn’t.

15                  THE COURT:     I have no doubt.

16                  MR. SPRINGER:     Thank you, Your Honor.

17                  Your Honor, as this Court well knows, a
18      motion to stay discovery turns on three factors, and

19      Dongguk has conceded two of them.

20                  Discovery will be unusually burdensome for

21      the parties and for the Court here, and a stay of

22      discovery will not prejudice Dongguk.            Those factors

23      have been conceded.

24                  What remains is the third factor which, as

25      this Court knows from it’s decision in Cuatero and the
     Case 3:08-cv-00441-TLM Document 46 Filed 07/21/08 Page 4 of 38
                                                                      4




 1      Anti-Monopoly case, that factor, as stated by

 2      Magistrate Judge Peck, is whether the motion to dismiss

 3      appears to have substantial grounds, and as this Court

 4      articulated it in Cuatero, whether it appears to raise

 5      substantial issues.

 6                  Your Honor, we believe that our motion to

 7      dismiss will succeed on all of Dongguk’s claims, but

 8      even if it does not, and it’s -- as Your Honor knows,
 9      it’s not your task to decide whether it will succeed,

10      but even if it does not, we maintain that our initial

11      memorandum in support of the motion to dismiss makes

12      clear, that we have substantial arguments for dismissal

13      on all of Dongguk’s claims.

14                  In ten or so days, we’re going to file a

15      reply brief which will further indicate those

16      substantial grounds, and indicate, as well, why we

17      think, in large part, the plaintiff’s opposition helps
18      us, and I’m prepared to go into the substance of that

19      this morning, and discuss each of the grounds that we

20      seek dismissal on, why we seek it, and why they’re

21      substantial grounds, and also address some of the key

22      arguments that the plaintiff has made in their

23      opposition.

24                  Before I do that, I just want to take a step

25      back and discuss two things, in part to give you a
     Case 3:08-cv-00441-TLM Document 46 Filed 07/21/08 Page 5 of 38
                                                                      5




 1      flavor of why discovery will be so burdensome.

 2                  Bob Weiner and I had a conversation yesterday

 3      that illustrates again, why it be burdensome.

 4                  As this Court knows, we cited part of the

 5      criminal record, actually it was Dongguk’s internal

 6      investigation of what occurred, which we thought, you

 7      know, reported some very interesting things.

 8                  Mr. Weiner indicated to me that he thought,
 9      and he believed legal counsel confirmed, that it was

10      illegal under Korean law, to produce this record of

11      Dongguk’s internal investigation from the criminal

12      proceeding.     We got a contrary opinion from counsel.

13                  So, we now have dueling opinions perhaps,

14      under Korean law, but one of the issues, of course, is

15      -- you know, a further issue is, “What relevance is

16      Korean law at all, to whether this is admissible

17      under,” you know, this -- “the law that governs this
18      case?”

19                  The complications here, I think, are endless,

20      and yet another part of the conversation with Mr.

21      Weiner illustrates that, as well.

22                  He made the suggestion, which I thought was a

23      good suggestion, that where the parties agree, we may,

24      together -- to spare the expense of translation, which

25      will be an extraordinary here, to spare, or at least
     Case 3:08-cv-00441-TLM Document 46 Filed 07/21/08 Page 6 of 38
                                                                      6




 1      reduce, I should say, the expense of translation, that

 2      where the parties agree on the documents that should be

 3      in the case, that we split the costs of translation.

 4                  One of the things, of course, is that we

 5      can’t concede that the translation will necessarily be

 6      accurate and, indeed, another issue has arisen about

 7      the accuracy of translations here, and we’re all

 8      interested, as I told Mr. Weiner, in accurate
 9      translations, and if we can resolve them, so much the

10      better, but I suspect that also will be -- come before

11      the Court, as well as the issue of, “Should the expense

12      be shared on these documents, or not?”, and whether

13      those documents, even with a joint translator, may be

14      inaccurate.     We certainly can’t -- a priority, consider

15      those accurate and, you know, as well as all of the

16      burden that we’ve indicated, as well, that will exist,

17      in our papers, that I need not repeat, including
18      navigating the shoals of, you know, Korean law, with

19      regard to whether, in fact, third-party discovery is

20      even permissible here.

21                  It may well be that we need, and we think,

22      quite frankly, we will need, this Court’s aid in what

23      we understand will need to be a case-by-case

24      presentation on third-party discovery, and we may need

25      the Court’s aid in seeking to persuade the Korean
     Case 3:08-cv-00441-TLM Document 46 Filed 07/21/08 Page 7 of 38
                                                                      7




 1      courts that third-party discovery is possible, if they

 2      even grant it, and we expect -- as Mr. Weiner has

 3      indicated, we disagree already, about the scope of

 4      discovery here, in light of all the allegations that

 5      have been mentioned and, you know, I think, Your Honor,

 6      it is -- I’ve raised all of this because it’s one thing

 7      in the    -- on the cold paper, to put the burdens of

 8      discovery, but I think as we take even baby steps in
 9      this proceeding, I think the burdens are enormous.

10                  Nor is -- You know, going to the third point

11      just briefly, that, you know, neither in the surreply,

12      and neither in the opposition, have there been any

13      indication of prejudice and, you know, what will occur

14      is -- here, what is, you know, a few-month delay while

15      the motion to dismiss is decided, and for those

16      reasons, Your Honor, those two grounds.

17                  And then, let me take up, you know, again,
18      one more preliminary matter that -- I call it

19      “Preliminary.”      I think the plaintiff would disagree.

20      They may maintain it goes to the heart of their

21      argument.

22                  The preliminary matter is -- in both the

23      opposition and in the surreply, I think the arguments

24      are virtually identical.        They invey against our use of

25      newspaper articles that they rely on, and are integral
     Case 3:08-cv-00441-TLM Document 46 Filed 07/21/08 Page 8 of 38
                                                                      8




 1      to their complaint.

 2                  They also invey and oppose our use of the

 3      judgment, where we asked Judge Chatigny, in the motion,

 4      to dismiss to take judicial notice of that judgment,

 5      and the indictment.

 6                  Your Honor, with regard to those points,

 7      again, which they make central, and we’re a bit puzzled

 8      by that, it is clear from the motion to dismiss, that
 9      none of our arguments depend on the truth of the

10      contents of any of the news articles, or on the Korean

11      judgment.

12                  Despite several opportunities, many

13      opportunities really, Dongguk has not, you know,

14      identified a single one of our argument depends

15      (phonetic) on the truth of any of those statements in

16      any of the documents.        They simply do not.

17                  The Court may consider those news articles
18      because Dongguk has relied upon them in its Complaint,

19      has repeatedly relied on them, has cited them and

20      relied on them, not for their truth, but as Dongguk

21      acknowledges, and like the plaintiffs in the Cortec and

22      Oppenheimer cases, which we cite, where matters there,

23      not cited in the Complaint, not appended, not within

24      the four corners were relied on, and the Court utilized

25      them and said, “As long as the plaintiffs relied on
     Case 3:08-cv-00441-TLM Document 46 Filed 07/21/08 Page 9 of 38
                                                                          9




 1      them, they were, in essence, fair game.”

 2                  What they are relied on here by Dongguk and

 3      by us is, “What is reported?         What was said?”, the

 4      context of all it.

 5                  Certainly, in their -- in fact, three of

 6      their four counts, Your Honor, except for the implied

 7      contract count, the negligence, the reckless and wanton

 8      count, and the defamation count, all rely on those news
 9      articles, and they are integral to their complaint here

10      and, you know, what is -- you know, I think if you look

11      at it, it could not be clearer, the reliance in the

12      citations, and for the defamation count, in order to

13      get the defamatory comments in the context, we present

14      those, and when I get to the defamation count,

15      interestingly, although we lay out the defamatory

16      statements that are there, they are not addressed by

17      Dongguk.
18                  And so, the Korean judgment is to be

19      considered, Your Honor, for the same reasons.                 We do

20      not rely on that -- the truth of it, rather, it is

21      simply -- and we have not asked the Court to do that.

22      We simply rely on the fact of the existence of that

23      indictment, and the judicial notice that the Court,

24      under the law that’s clear, and I think the parties

25      agree on that, that may be taken with regard to that.
     Case 3:08-cv-00441-TLM Document 46 Filed 07/21/08 Page 10 of 38
                                                                       10




 1                  That’s part of the underbrush, I think, that

 2       ought to be cleared out here, and again, we do not rely

 3       on the truth of any of those reports.

 4                  The other point I guess I need to make is, so

 5       much of their brief treats our motion to dismiss as if

 6       it were a motion for summary judgment or, in their

 7       view, should have been a motion for summary judgment.

 8       They certainly take great pains to try to turn it into
 9       that.   Indeed, a considerable portion of their brief

10       tries to turn it into a summary judgment motion, but

11       those should not succeed.

12                  For one, again, the case law that we rely on,

13       in Cortec and Oppenheimer, and a host of other cases,

14       you know, makes clear that we can use this.             The Court

15       may -- you know, it may be provided to the Court for

16       the purposes for which the plaintiff and we provide it

17       to the Court, and then, it is also not summary judgment
18       because we really are dealing here, in classic fashion,

19       in a motion to dismiss, with the sufficiency of the

20       allegations in the Complaint.         That is what we’re

21       dealing with under each of the counts here.

22                  Plaintiff needs to make sufficient

23       allegations and, in our view, has not.

24                  Your Honor, if I could then turn, if you

25       would, to the various counts, and here we maintain that
     Case 3:08-cv-00441-TLM Document 46 Filed 07/21/08 Page 11 of 38
                                                                       11




 1       Dongguk cannot state a negligence claim because -- and

 2       these are the reasons.

 3                  Yale had no duty to protect Dongguk from

 4       purely economic loss.       I think, Your Honor, if you look

 5       at both Restatement 323, 324(a) that we cite, and

 6       interestingly enough here, the plaintiffs cite a

 7       treatise that we don’t see the relevance of, it doesn’t

 8       deal with the issue of physical harm, which we -- they
 9       -- we maintain needs to be part of the allegations

10       here, cannot obviously be part of the allegations here,

11       as well as, you know, if you look at that case law and,

12       you know, the Connecticut Supreme Court discussion of

13       the Yale and Doe matter, where it -- you know, in a

14       case they dismiss with the back of their hand, but

15       should not be, it cites -- in essence it indicates that

16       as a matter of public policy, it would not recognize a

17       legal duty to prevent inadequate education unless there
18       is physical harm.

19                  We maintain, Your Honor, that not only the

20       better reasoned cases, but even the cases they cite,

21       which are construction and real estate case (phonetic),

22       implicitly contained the risk of physical harm and, you

23       know, and what we maintain here is that if you look at

24       the better reasoned cases, negligence in the -- this

25       context, certainly, should not exist for pure economic
     Case 3:08-cv-00441-TLM Document 46 Filed 07/21/08 Page 12 of 38
                                                                       12




 1       harm, that Yale had no duty, nor could Yale have

 2       reasonably foreseen the harm of the sort that Dongguk

 3       had alleged here.

 4                  As we point out, it could not have foreseen,

 5       in fact, that, you know, a hundred year reputation when

 6       Pam Schirmeister first got this fraudulent letter

 7       ginned up, apparently by Shin, it could not have

 8       foreseen this.     At no point do we maintain that they
 9       could have seen the nature of harm that was claimed

10       here, and even Dongguk, in its brief, repeatedly refers

11       to the fact that it would not have hired Shin, not

12       employed Shin, but for Yale’s actions but, in fact, it

13       had hired her.     It had not checked on her references.

14       It had hired her prior to Yale being even sent that

15       letter, or “Certification letter,” as it’s known.

16                  So, we think we have a substantial argument

17       on that basis, as well.
18                  What we also argue is public policy does not

19       favor imposing a duty upon Yale.          In essence, to have

20       uncovered the fraud here, and protected Dongguk from

21       Shin’s fraud, public policy does not, and what is

22       interesting in Dongguk’s reply brief, is that they

23       indicate that they agree with Yale, that there is a

24       societal interest in encouraging universities to verify

25       academic degrees.      What we maintain, and we think there
     Case 3:08-cv-00441-TLM Document 46 Filed 07/21/08 Page 13 of 38
                                                                       13




 1       is a substantial argument for this, Your Honor, is

 2       encouraging universities, in the way of -- by allowing

 3       Dungguk’s claim here would, in fact, as a matter of

 4       public policy, discourage universities from verifying

 5       degrees.

 6                  We maintain that what would happen is, faced

 7       with a $50 million lawsuit for what occurred here; that

 8       is, the fraud that was perpetrated on Dongguk and Yale,
 9       and to hold Yale, in these circumstances, to have a

10       claim and a duty, would go against public policy.             It

11       would be the exact opposite affect.           It would be

12       extraordinarily chilling.

13                  I maintain, Your Honor, that it would be

14       similar to employee references, the chilling effect

15       that liability creates there, and where people no

16       longer can be forthright with each other because of the

17       risk of the liability.
18                  There are still further substantial issues

19       that we maintain are raised with regard to the

20       negligence count.

21                  Yale was not a cause, in fact, of Dongguk’s

22       alleged harm, because that alleged harm would have

23       occurred regardless of Yale’s alleged negligence.

24                  As the Complaint indicates, and we maintain,

25       Your Honor, Shin was already hired.           The opprobrium,
     Case 3:08-cv-00441-TLM Document 46 Filed 07/21/08 Page 14 of 38
                                                                           14




 1       the damage to Dongguk’s reputation was put in place.

 2       This would have occurred, as we argue and maintain,

 3       regardless of what Yale did.

 4                  Similarly, we maintain that it was not the

 5       proximate cause of Dongguk’s alleged harm, because Yale

 6       did not create the risk of harm to Dongguk, rather,

 7       Shin did by committing fraud, and Dongguk did by hiring

 8       Shin without checking her credentials.
 9                  Your Honor, in short, we have five arguments.

10       We need succeed only on one, with regard to indicating

11       then, the negligent count is insufficient.            All of

12       those are elements of the cause of action here.               I

13       think it is certainly the appearance of raising

14       substantial issues under the law, that would govern

15       this motion to stay.

16                  Let me then, if I could, turn to the reckless

17       and wanton case matter.
18                  There, Your Honor, even more patently, the

19       risk of bodily harm, or physical harm and danger is a

20       required element of that count.          There is no case that

21       Dongguk cites or that we cite, where there is a finding

22       of reckless and wanton conduct that does not include

23       that element.

24                  In fact, if you look at all the cases, they

25       are often liquor cases or automobile cases, and they
     Case 3:08-cv-00441-TLM Document 46 Filed 07/21/08 Page 15 of 38
                                                                       15




 1       require that.

 2                  What Dongguk tries to do because of that, is

 3       change the standard here, Your Honor, and what they try

 4       to do is indicate that there’s a negligence standard,

 5       really, here, and if you look at their memorandum, at

 6       32, where they cite no authority, they try to turn it

 7       into a negligence standard by arguing that the test is

 8       whether the Complaint contains sufficient allegations
 9       to show that Yale knew, or should have known, I’ll put

10       a bracket in there, the language of negligence, as a

11       reasonable person, again the language of negligence, of

12       substantial risk or danger to Dongguk, that could be

13       caused by its failure to exercise duty of due care in

14       making such statements.        That is not at all what

15       reckless and wanton requires.

16                  Indeed, Your Honor, we would recommend and

17       commend to your attention, the case of Craig v.
18       Driscoll, and what’s interesting about Craig is that

19       the -- Dongguk cites the appellate court case, and what

20       it cites, it -- Well, in Craig, Your Honor, the

21       plaintiffs allege that the defendant had intentionally

22       instituted a policy of serving alcohol to intoxicated

23       patrons who would be driving, including the man who

24       killed plaintiff’s decedent in a car crash.

25                  Understandably there, the Court found that
     Case 3:08-cv-00441-TLM Document 46 Filed 07/21/08 Page 16 of 38
                                                                       16




 1       the plaintiffs had alleged reckless conduct.

 2                  Then, Dongguk cites the Supreme Court

 3       decision in Craig, but if you look at the two sentences

 4       immediately following the ones that Dongguk cites, what

 5       we have here is what is, you know, taken and well-

 6       established in Connecticut courts, as establishing

 7       reckless and wanton conduct, and this is what it says

 8       after that:
 9                  “As set forth previously, the plaintiff’s

10                  Complaint alleges conduct that constitutes an

11                  extreme departure from ordinary care in a

12                  situation that involves a high degree of

13                  danger.

14                  The allegation of a specific policy to

15                  continue to serve alcohol to a particular

16                  patron who is known to have an excessive

17                  drinking problem, while that patron is
18                  already intoxicated, with the knowledge that

19                  the patron would be operating a motor vehicle

20                  upon leaving the bar, reflects willful,

21                  wanton and reckless conduct sufficient to

22                  survive a motion to strike.”

23                  Dongguk cannot, and has not, of course, made

24       any such allegations here.        Instead, as I mention, it

25       seeks to modify the standard by having it be a
     Case 3:08-cv-00441-TLM Document 46 Filed 07/21/08 Page 17 of 38
                                                                         17




 1       negligence standard, which gets us, Your Honor, if you

 2       will, to the implied contract.

 3                   Here, Your Honor, there are lots of arguments

 4       to be made.     Our essential arguments are that the

 5       parties did not enter into any contract, and no

 6       dealings they had, or any facts surrounding their

 7       relationship, or what occurred here, or what is

 8       alleged, you know, indicates that there is an implied
 9       contract, and further, Yale provided no consideration

10       for that contract, nor have they alleged any.

11                   Your Honor, at various points, what occurs

12       here is that -- On page 32, for instance, and I’ll make

13       a number of points about this implied contract claim

14       because it -- there are a lot of points to be made

15       about it.

16                   They argue custom here.       They make the

17       allegation that -- sufficient allegations that -- I’m
18       sorry.   I think I have the wrong page here.            It is

19       actually 33, okay?

20                   They maintain, by citing paragraphs 24 and 25

21       and 28 and 29, that there is a well-established custom.

22       Those allegations support no custom, Your Honor.

23                   Similarly, in -- on the same page, they

24       allege an understanding -- not that they allege, they

25       argue -- I should correct that.
     Case 3:08-cv-00441-TLM Document 46 Filed 07/21/08 Page 18 of 38
                                                                       18




 1                  The brief argues for a custom.          There is no

 2       custom alleged in the Complaint.          The brief argues for

 3       an understanding.      There is no understanding alleged in

 4       the Complaint.     It does not support it.

 5                  They argue that there are dealings, and

 6       that’s on page 33, argues that:

 7                  “Based upon their dealings with each other,

 8                  Yale and Dongguk entered into an implied
 9                  contract.”

10                  There aren’t any dealings, as such, from

11       which an implied contract could be derived, Your Honor,

12       there simply aren’t, and if you look at this, the

13       necessary implication of Dongguk’s argument under the

14       implied contract, is that unbeknownst to all of them,

15       Your Honor, every academic institution in the world has

16       entered into an enforceable contract with every other

17       academic institution, even if they don’t know them, or
18       had no basis for knowing of them before contact.

19                  Dongguk does not argue that the alleged

20       contract between Yale and Dongguk resulted or arose as

21       the result of any interactions between the two

22       institutions, rather, they argue that it arose as the

23       result of Yale’s practice of requesting and performing

24       degree verification, generally.

25                  According to Dongguk’s theory, every academic
     Case 3:08-cv-00441-TLM Document 46 Filed 07/21/08 Page 19 of 38
                                                                       19




 1       institution has an obligation to respond to every other

 2       institution’s degree verification requests, meaning

 3       that Yale would have been in breach of this contract,

 4       even if it had never responded.          That’s the necessary

 5       implication here.      It just doesn’t make sense, nor does

 6       this implied contract count make sense.

 7                  Similarly, Your Honor, there is just no

 8       consideration and -- you know, and that becomes evident
 9       from the argument in the plaintiff’s memorandum.

10                  At 34, they argue -- without even citing the

11       Complaint, they argue that they have asserted

12       sufficient facts to show that Yale has -- was provided

13       with the consideration for the implied contract.

14                  You know, again, without citing the

15       Complaint, they argue, a page later, that they pleaded

16       that the parties had promised to each other, upon a

17       request of one party, the other party will verify and
18       provide accurate information as to whether the

19       purported degrees were actually awarded by it or not.

20       The Complaint doesn’t include such an allegation, nor

21       could they make such an allegation in good faith here.

22                  What’s glaring, Your Honor, is that they need

23       to make arguments based on facts that don’t exist, and

24       allegations that are not communicated.

25                  Let me turn then, to the defamation count,
     Case 3:08-cv-00441-TLM Document 46 Filed 07/21/08 Page 20 of 38
                                                                       20




 1       and I think, Your Honor, all of the arguments that we

 2       raised with the implied contract count, indicate that

 3       we, you know, certainly appear to have substantial

 4       grounds, and with regard to the defamation count, we

 5       make two essential arguments here, that there are no

 6       defamatory statements, and that they have failed to

 7       sufficiently allege malice.

 8                  With regard to the defamatory statements, and
 9       here is where those articles meet.          They rely on them.

10       We refer to them.      They provide context.        They provide

11       what the statements are, in some instances, because

12       they say they’ve -- you know, as Dongguk readily

13       admits, it’s relying on them for the falsity, and

14       what’s reported.

15                  We cite and analyzed them, Your Honor, and I

16       think we walked through them fairly carefully, to show

17       that they are not defamatory and, Your Honor, I don’t
18       -- I think it is fairly clear under the law here, that

19       is applicable, that that can be decided as a matter of

20       law, that -- whether or not these are defamatory.

21                  You know, one of the interesting things is,

22       on page 36 Dongguk cites Mix v. Woodward, a case

23       involving defamation, obviously, and what it cites it

24       for is this proposition:

25                  “Even where a statement made by defendant
     Case 3:08-cv-00441-TLM Document 46 Filed 07/21/08 Page 21 of 38
                                                                       21




 1                  does not mention a defamed party on its face,

 2                  Connecticut courts allow the extrinsic facts

 3                  to show that the statement refers to

 4                  plaintiff.”

 5                  You may remember, Your Honor, and I

 6       apologize, I should have mentioned this, in our

 7       defamation claim, we maintain that Dongguk is not

 8       defamed.    There are no statements about Dongguk
 9       defaming it, and so what is interesting in the Mix case

10       is, you know, here, unlike in the Mix case, Dongguk has

11       alleged no statements in which it is ambiguously

12       described, what it cites the Mix case for.            Rather,

13       this case; that is, the Dongguk and Yale case,

14       exemplifies another rule that is noted in Mix, and is

15       cited shortly thereafter:

16                  “Now, it is undoubtedly true, as has been

17                  already intimated, that words may be, in
18                  themselves, so vague and uncertain that they

19                  cannot be intended to apply to any person,

20                  and in such case, no action may be

21                  maintained.”

22                  We would maintain, Your Honor, that’s our

23       case, that, you know, there are no defamatory

24       statements about Dongguk, and we think we’ve made a

25       substantial showing in our analysis, that that’s true.
     Case 3:08-cv-00441-TLM Document 46 Filed 07/21/08 Page 22 of 38
                                                                       22




 1                  With regard to the malice issue, Your Honor,

 2       we -- you know, what’s interesting there is, again,

 3       Dongguk, in its brief, seeks to import a negligence

 4       standard, and makes -- you know, and believes its

 5       conclusory remark about maliciousness should carry the

 6       day.

 7                  Conclusory remarks in motions to dismiss do

 8       not carry the day, particularly, we maintain, Your
 9       Honor, in this Complaint, where there are ample

10       allegations to indicate that there was no malice at

11       issue, in contrast to the Morron case that they cite.

12                  Here, Your Honor, in contrast to that nasty

13       case with regard to policemen, and the issues of

14       liability there, here, what we have are civilized

15       responses, correspondence, an investigation, disclosure

16       of a mistake, an apology by Yale for its administrative

17       mistakes, all indicia that no malice arises, all
18       undermining whether malice, you know, has been

19       sufficiently alleged here, and again, you know, the

20       conclusory allegation without facts, and with facts to

21       the contrary being alleged, we believe, makes a

22       substantial showing in this matter, the defamation, for

23       that reason, as well, is -- you know, is insufficiently

24       alleged here.

25                  Your Honor, if I may just pause for one
     Case 3:08-cv-00441-TLM Document 46 Filed 07/21/08 Page 23 of 38
                                                                       23




 1       moment?

 2                  THE COURT:     Yes, please.

 3              (Pause.)

 4                  MR. SPRINGER:      Your Honor, I have nothing

 5       else at this point.

 6                  THE COURT:     All right.

 7                  Mr. Weiner?

 8                  MR. WEINER:     Your Honor, we should go back to
 9       the beginning and the standard you need to look at.

10                  Mr. Springer is correct, we’re not claiming

11       prejudice here.      He is not correct regarding the scope

12       of discovery.     There is actually a fairly divergent

13       view as to the scope of discovery, but we did not think

14       it was appropriate, in the context of this motion, to

15       argue that divergent view.

16                  We disagree fairly strongly, that the

17       standard that Your Honor must apply in determining
18       strength of the motion to dismiss, the cases that are

19       cited, not only in our brief, but are cited in the Yale

20       brief, is that it has to be a strong showing, not

21       merely the filing of a motion, and saying, “We’ve done

22       enough,” and just to go back, historically, a little

23       bit.

24                  The first brief that was submitted to Your

25       Honor had a single paragraph on the merits.             It did not
     Case 3:08-cv-00441-TLM Document 46 Filed 07/21/08 Page 24 of 38
                                                                       24




 1       attach either the Complaint, nor did it attach the

 2       motion to dismiss itself, which is significant.

 3                  What it did attach were a bunch of newspaper

 4       articles that had nothing to do with the pleadings in

 5       this case.    They were different from the ones that were

 6       ultimately attached to the motion to dismiss, and in

 7       that brief they began to weave a different story of

 8       what occurred, but that’s not what Your Honor is
 9       charged with.     What Your Honor is charged with, is

10       reviewing the Complaint and reviewing the motion to

11       dismiss, to determine whether or not strong showing --

12       a strong showing has been made.

13                  What we provided to Your Honor, gave you a

14       copy of the Complaint, we gave you a copy of their

15       motion, and we gave you a very detailed brief in

16       opposition, that addressed every single point made in

17       the motion to dismiss, and that brief is divided into
18       two parts, Your Honor.

19                  The first was to show Your Honor that the

20       motion to dismiss was procedurally ineffective because

21       it was -- fatal because it attached stuff outside of

22       the pleadings, and when Mr. Springer says that the

23       Court can consider other materials, such as a judgment,

24       such as newspaper articles, on a motion to dismiss, he

25       is dead wrong, Your Honor.
     Case 3:08-cv-00441-TLM Document 46 Filed 07/21/08 Page 25 of 38
                                                                       25




 1                  In our surreply brief we cited the Time

 2       Warner case which they have cited in their reply brief,

 3       and if Your Honor goes back to that case, it’s a Second

 4       Circuit case, where the Second Circuit took pains to

 5       state when you can consider matters outside the

 6       pleadings, and when you cannot, and what the procedural

 7       posture has to be, and in that case they made very

 8       clear that the only time that a reviewing court can
 9       consider matters outside of the pleading, is when the

10       documents themselves, the so-called, “extra Complaint

11       documents,” are dispositive on their face, and the

12       examples of that are the three cases in which the

13       Second Circuit has done that.

14                  One case involved a breach of contract, and

15       the contract itself, which was not attached to the

16       Complaint, was dispositive of the parties’ rights.

17                  In the other two cases, there were some other
18       corporate documents which were, again, dispositive of

19       the parties’ rights.       Subject to that, the Second

20       Circuit said, “Any other documents that are attached to

21       a motion to dismiss convert the motion to dismiss into

22       a summary judgment motion.”

23                  So, when Mr. Springer says, “Why are we

24       treating this like a summary judgment motion?”, we’re

25       treating this like a summary judgment motion because
     Case 3:08-cv-00441-TLM Document 46 Filed 07/21/08 Page 26 of 38
                                                                         26




 1       the Second Circuit and the Federal Rules of Civil

 2       Procedure make it very clear that’s what you have to do

 3       when documents are attached to a motion to dismiss.

 4                   We then analyzed those documents and we

 5       presented to Your Honor, the fact that the documents

 6       themselves are actually inadmissible hearsay, both with

 7       respect to the judgment and respect to the newspaper

 8       articles.
 9                   Now, Mr. Springer said today, “We’re not

10       relying on the truth of those articles, we’re simply

11       relying on the fact that they were published.”                Well,

12       if that’s the case, they have no bearing on the motion

13       to dismiss.     They are, quite frankly, irrelevant to the

14       motion to dismiss, but the fact of the matter is he is

15       relying on those articles for their truth.            Indeed, in

16       his summary judgment -- in his argument on the

17       negligence claim, and why it should be granted, he
18       said, you know, “Dongguk had not checked other

19       references.”     That was taken from newspaper articles.

20       He argued that a fraud was perpetrated on Yale.                That’s

21       outside of the pleadings, as well.

22                   Basically, his entire argument is based upon

23       facts that he’s trying to elicit from these newspaper

24       articles and from this judgment which, by the way, if

25       you read the judgment, the one claim that may be
     Case 3:08-cv-00441-TLM Document 46 Filed 07/21/08 Page 27 of 38
                                                                         27




 1       relevant, there was an acquittal, and what they cited

 2       to in their brief, Your Honor, was so-called, “indicted

 3       facts,” which the Court did not find as true.             So,

 4       putting aside that it’s inadmissible in the first

 5       place, it doesn’t even say what they say it says.

 6                  Going on to the deficiencies in their motion.

 7       We then presented to Your Honor, just taking their

 8       brief, their motion to dismiss brief, probably 20 fact
 9       issues that would mandate the denial of their motion to

10       dismiss if it was converted into a summary judgment

11       motion, based upon the articles and the judgments that

12       they attached to their belief.         So procedurally, alone,

13       their motion is defective.

14                  Next, we then approached the case.           Well,

15       let’s put all of that away.         Let’s look at the

16       Complaint, and whether the Complaint measures up to

17       appropriate pleading practices and, Your Honor, we
18       have, in this case, as you know, filed, I think, a 30-

19       some-odd page Complaint.        It is probably as detailed a

20       Complaint as you can possibly see.          It’s spells out in

21       detail, each of our claims, factually and legally, and

22       it is our position that the reviewing court, Judge

23       Chatigny, will have to review that Complaint, in view

24       of the pleading requirements of the federal rules

25       which, as Your Honor knows, is notice pleading.
     Case 3:08-cv-00441-TLM Document 46 Filed 07/21/08 Page 28 of 38
                                                                       28




 1                  We go far beyond notice pleading, far beyond

 2       that, and when Mr. Springer argues to you, “Well, we’re

 3       gonna win on the motion to dismiss the negligence

 4       claim” -- Actually, let me back up one second.

 5                  The one thing I think we do agree about,

 6       about discovery, is that the discovery for each claim

 7       in this case is probably the same as any other claim in

 8       this case, so that by dismissing one claim, or two
 9       claims, or three claims, only one other claim, the

10       fourth claim, survives.        The same amount of discovery

11       is going to be taken in this case, whether it was one

12       claim or four claims, and that’s a very significant

13       point, because while we do disagree on one part of the

14       standard, it is our reading of the cases, that you’ve

15       got to prevail on all of the claims asserted.

16                  I think Mr. Springer has identified two Judge

17       Leisure cases, where the judge indicated that he was
18       granting a stay because one claim, which was the

19       subject of the motion, was so overwhelmingly involved

20       in the discovery, if the claim was dismissed, the whole

21       tenor of discovery would change, and that’s the only

22       exception that we could find, that where a motion is

23       not totally dispositive, if you can make a showing that

24       discovery truly will be narrowed because of that one

25       meritorious motion on that particular claim, then there
     Case 3:08-cv-00441-TLM Document 46 Filed 07/21/08 Page 29 of 38
                                                                       29




 1       is some rationale to stay discovery.

 2                   So, in effect, whether we’re correct that you

 3       have to dismiss all four claims, or whether he is

 4       correct that certain claims can be dismissed, he then

 5       has a additional burden to show you that the remaining

 6       claims’ scope of discovery will significantly differ,

 7       and he can’t do that and he won’t do that, because the

 8       fact of the matter is he’s made it very clear to you
 9       that discovery in this case is going to be complicated,

10       no matter what, and to a certain degree, we agree with

11       that.

12                   So now let’s move to the so-called,

13       “procedural defects” with the Complaint.

14                   So the standard for Judge Chatigny now

15       becomes a very simple standard, “Do the words of the

16       Complaint, on their face, set forth claims for

17       relief?”, not whether we’re going to win them at the
18       end of the case, but whether we have pleaded them

19       properly.

20                   Now, you were told that with respect, for

21       example, with negligence, there are four defects.

22                   The first defect was there’s no duty without

23       -- if there’s only economic loss.          Mr. Springer told

24       you that’s an issue that’s not even settled in

25       Connecticut.     There are cases that go both ways on that
     Case 3:08-cv-00441-TLM Document 46 Filed 07/21/08 Page 30 of 38
                                                                         30




 1       issue.   We cited the cases that say economic loss is

 2       sufficient.     He cited the cases that say you need more

 3       than that, but the point is we pleaded it, there’s no

 4       question about that, and at some point the Second

 5       Circuit, or maybe the Supreme Court in Connecticut will

 6       resolve the issue, but it’s well supported by

 7       Connecticut case law.

 8                  The other things he mentions, that Dongguk
 9       had not checked on references, that’s a fact issue.

10       It’s outside the pleadings, and that’s also a fact

11       issue.

12                  Then he says, as another reason, the injury

13       wasn’t foreseen.      We provided to you, case law.

14       Foreseeability is an issue for the jury.            It’s a fact

15       issue to be determined by the jury.

16                  Was Yale also defrauded by Shin?           Another

17       factual issue.     We would suggest that’s not the case
18       because they figured out that they didn’t give her a

19       degree two years later, but that’s a fact issue.

20                  The issue of public policy.         We have

21       competing public policy issues.          That doesn’t get

22       resolved on a motion to dismiss.

23                  Then he says, “No cause in fact.”           By

24       definition, that’s a fact issue, whether the injury or

25       the harm was caused and -- by their conduct, and again,
     Case 3:08-cv-00441-TLM Document 46 Filed 07/21/08 Page 31 of 38
                                                                       31




 1       we cited a multitude of cases, that all of these issues

 2       are for the jury, they’re not for a judge determining

 3       the issue on the motion to dismiss, when he has to

 4       accept all of the allegations as true.

 5                  We then move to reckless and wanton conduct.

 6       Again, we provided Your Honor that the issue of whether

 7       this is reckless and wanton conduct is a fact issue

 8       and, by the way, there is a high negligence standard,
 9       and we cite the cases in our brief that say that, as

10       well.

11                  And this is probably a good point to say it

12       was interesting that in their reply brief, not once did

13       they attack any of the cases that we cited to Your

14       Honor.   We served a 30-some-odd page brief, chock full

15       of cases, and in their reply brief, they don’t take --

16       they don’t attack any of those cases.           They don’t

17       challenge those cases.
18                  The first time I’ve heard anything about

19       those cases is at this argument today, but the fact of

20       the matter is they’re provided in that brief, and I

21       don’t want to reiterate, it’s a long brief, the

22       allegations.     We tied those allegations to each

23       Connecticut element of law, and provided to you, the

24       case law which demonstrates that all of these issues

25       that he’s talking about today, are issues for jury, and
     Case 3:08-cv-00441-TLM Document 46 Filed 07/21/08 Page 32 of 38
                                                                       32




 1       not for a judge on a motion to dismiss.

 2                  We move on to the implied contract.           The same

 3       thing, whether the conduct of the parties is sufficient

 4       to be a contract is a fact issue to be determined by a

 5       jury.

 6                  And finally, on the defamation, and he cites

 7       to the Mix case, all of those issues was, “Could the

 8       alleged statement have been attributable to the
 9       plaintiff, or the defamed plaintiff?”           That’s a fact

10       issue.    It’s not an issue that you resolve on motion.

11                  And finally, he talks about that we didn’t

12       plead malice correctly, and let me just see if I can

13       find a reference in my brief on that, Your Honor.

14            (Pause.)

15                  MR. WEINER:     Your Honor, we provided the

16       Court with a courtesy copy of our motion in opposition

17       to the motion to dismiss.        I don’t know if you received
18       it yet.    I think you should have.        If you haven’t, I’ll

19       make sure you get it, but because he had made that

20       point, in our motion -- opposition to the motion to

21       dismiss, we went back and we covered the malice point a

22       little more thoroughly, and we cited a Second Circuit

23       case called Boyd v. National Mutual Insurance Company,

24       208 F.3d 406, at 410; and the second case, Dougherty v.

25       Town of Hempstead Board of Zoning, 282 F.3d 83, at 91.
     Case 3:08-cv-00441-TLM Document 46 Filed 07/21/08 Page 33 of 38
                                                                       33




 1                  Both those cases talk about the pleading

 2       requirements for malice, and they say that there is a

 3       slightly heighten pleading requirement under 9(b), but

 4       that it was sufficient for a plaintiff to generally

 5       cover -- to revert -- “To assert malice as to a

 6       defendant’s state of mind,” and that generalization is

 7       picked up by the Morron case that Mr. Springer did

 8       refer to, and in that case, the Court found that a
 9       allegation that four statements were made maliciously,

10       intentionally, willfully, wantonly, and/or with

11       reckless disregard of the truth, was sufficient to

12       satisfy the pleadings standard.

13                  So, in other words, you just have to simply

14       say, “They were made maliciously,” and, Your Honor, in

15       paragraph -- Let me see if I can get the paragraph,

16       paragraph 198 of the Complaint, we allege that all of

17       these statements were made maliciously.            That satisfies
18       the malice standard.       This is the pleading.

19                  In addition to having satisfied that narrow

20       standard, we provided, which is not required, all of

21       the detail regarding Yale’s conduct.

22                  So, Your Honor, I would suggest that that

23       issue should not be a significant issue for the

24       reviewing Court, but putting it -- again, aside that --

25       and that was the only issue that attacked the pleading.
     Case 3:08-cv-00441-TLM Document 46 Filed 07/21/08 Page 34 of 38
                                                                       34




 1       Everything else that Mr. Springer said, is a fact

 2       issue, “Were we defamed?        Were we damaged?      Could this

 3       article have been interpreted as referring to Dongguk

 4       had spoke to somebody else?”         Those are all fact

 5       issues.

 6                  Ironically, from the articles that he

 7       attached to his brief, and to the brief before Judge

 8       Chatigny, it was very clear that everyone understood
 9       that Dongguk was being referred to, because those

10       articles began to write about Dongguk’s failure to

11       verify, and Dongguk’s failure to do that.            So the very

12       material that he provided with his briefs, demonstrate

13       that everyone reading these articles understood they

14       were referring to Dongguk.

15                   So, Your Honor, I go back to where I began

16       in the beginning, which is that he has to make a strong

17       showing, and that showing is something that -- I’m not
18       asking you to decide the motion to dismiss, that’s not

19       your job, we all understand that, but it is your job to

20       review the Complaint.       It is your job to review --

21       generally review the motion papers, and based upon that

22       review, come to a conclusion, and I think that every

23       case that we cited, and every case that they cited, the

24       magistrate judge or, in some instances, the judge

25       himself, did exactly that review.
     Case 3:08-cv-00441-TLM Document 46 Filed 07/21/08 Page 35 of 38
                                                                       35




 1                  We believe that you can do that review fairly

 2       easily, by reading the Complaint, let alone anything

 3       else, that you’ll have to conclude that he’s not gonna

 4       prevail on each and every claim and, quite frankly, I

 5       don’t think he’s gonna prevail on any of them, but that

 6       once you reach a conclusion that he’s not going to

 7       prevail on each and every claim, that we move forward

 8       with discovery, because the discovery is not gonna
 9       change, whether it’s one claim or four claims.

10                  THE COURT:     On the negligence count, is the

11       question of whether Yale had a duty to the plaintiff,

12       something that requires a jury finding on a fact?

13                  MR. WEINER:     No, duty is an issue of law,

14       Your Honor, and we provided case law as to why there is

15       a duty here.     Basically, it’s a gratuitous undertaking.

16       Once you take -- When you begin to take steps to do

17       something, then you have created a duty, as a matter of
18       law.

19                  THE COURT:     Uh-huh.

20                  MR. WEINER:     So, if Yale had simply ignored

21       the request, and done nothing, then we would have

22       nothing to talk about, but once Yale undertakes the

23       obligation, then you create that duty, and we cite case

24       law that supports that, Your Honor.

25                  THE COURT:     All right.
     Case 3:08-cv-00441-TLM Document 46 Filed 07/21/08 Page 36 of 38
                                                                       36




 1                  You want some rebuttal time?

 2                  MR. SPRINGER:      Just briefly, Your Honor.

 3                  These become fact issues for the jury only if

 4       there were sufficient allegations made.            We maintain

 5       repeatedly, and throughout our brief, and in my

 6       argument, that insufficient allegations were in this

 7       Complaint.

 8                  One of the points, only because Mr. Weiner
 9       said it was important, is that the different claims are

10       based on different factual allegations.            For example,

11       the implied contract claim does not implicate Yale’s

12       alleged statements in 207 -- 2007, or any other actions

13       after Pam Schirmeister allegedly sent the September

14       22nd, 2005 fax to Dongguk.

15                  The defamation claim does not implicate

16       Yale’s alleged degree of verification protocols or the

17       parties’ alleged communications.          Discovery may be
18       vastly different, depending on what is left here.

19       Nonetheless, Your Honor, we have not argued and we

20       don’t argue that we haven’t made a substantial showing

21       on all of these, that there are insufficient

22       allegations of facts to warrant -- Well, those

23       insufficient allegations warrant dismissal and, Your

24       Honor, with regard to the reply brief, we maintain in

25       that -- you know, we knew we’d have an opportunity
     Case 3:08-cv-00441-TLM Document 46 Filed 07/21/08 Page 37 of 38
                                                                       37




 1       today.   We knew we’d have an opportunity in the reply

 2       to the motion to dismiss, to point out all the

 3       deficiencies in the opposition, and also why these fact

 4       issues are insufficient, in other words, they’re

 5       insufficient factual allegations.

 6                  That’s about it.       Thank you.

 7                  THE COURT:     All right.

 8                  Anything else we should do here today?
 9                  MR. WEINER:     Your Honor, I believe that there

10       is a 16(b) order from Judge Chatigny, that we were to

11       meet and -- meet with you to --

12                  THE COURT:     All right.

13                  MR. WEINER:     -- to set up a schedule.

14                  THE COURT:     All right.

15                  MR. WEINER:     So I would think we should cover

16       that today.

17                  THE COURT:     All right.
18                  Well, do you want to be heard here in open

19       court, or shall we retire to chambers to discuss that

20       informally?

21                  MR. WEINER:     Whatever Your Honor’s preference

22       is.

23                  MR. SPRINGER:      Your preference, Your Honor.

24                  THE COURT:     Why don’t we go into chambers.

25             (Proceedings concluded at 11:30 a.m.)
Case 3:08-cv-00441-TLM Document 46 Filed 07/21/08 Page 38 of 38
                                                                  38




                               CERTIFICATE

         I hereby certify that the foregoing 37 pages are a

    complete and accurate transcription of my original

    stenomask voice notes taken of the Oral Argument on

    Defendant’s Motion to Stay Discovery (Doc. #12), in the

    matter of: DONGGUK UNIVERSITY, Plaintiff, versus YALE

    UNIVERSITY, Defendants, Civil Action Number 3:08-CV-

    00441 (RNC), which was held before the Honorable Donna
    F. Martinez, United States Magistrate Judge, at the

    Federal Building, 450 Main Street, Hartford,

    Connecticut, on July 15, 2008.



    __________________________              July 21, 2008

    STEPHEN C. BOWLES

    Official Court Reporter
